
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-09-00142-CR


______________________________




CHRISTOPHER DERRION MANNING, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 71st Judicial District Court


 Harrison County, Texas


Trial Court No. 08-0423X




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Christopher Derrion Manning (1) entered a plea of no contest to the charge of possession of a
firearm at a prohibited place, was tried by the court, convicted and sentenced to five years'
imprisonment in the Institutional Division of the Texas Department of Criminal Justice. (2)  See Tex.
Penal Code Ann. § 46.03(a)(1) (Vernon Supp. 2009).

	In a companion appeal, cause number 06-09-00141-CR, also before this Court, Manning
appeals his conviction for aggravated assault with a deadly weapon.  In that case, Manning was
sentenced to nine years' imprisonment.  The sentences are to run concurrently.  In cause number 06-09-00141-CR, Manning raises the same issue as he does in this appeal, that the trial court erred in
failing to sua sponte conduct an informal inquiry into his competence at the time it accepted his plea
and at the time of Manning's punishment hearing two months later.  



	Because the issues raised in each appeal are identical, for the reasons stated in our opinion
dated this day in Manning v. State, cause number 06-09-00141-CR, we affirm the judgment of the
trial court.



							Josh R. Morriss, III

							Chief Justice


Date Submitted:	November 3, 2009

Date Decided:		November 12, 2009


Do Not Publish
1. We have before us three companion appeals involving the same appellant.  His name is
spelled differently in each indictment and trial court judgment.  Therefore, in each opinion, we have
used the spelling used by the trial court in those documents.
2. Manning also entered no contest pleas to two additional indictments alleging aggravated
assault with a deadly weapon and debit card abuse.  Manning was found guilty on both charges. 
Competency issues with respect to these cases are the subject of separate appeals.  



style="font-weight: bold"&gt;Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-04-00014-CV
______________________________


LINDA MORRIS, Appellant
&nbsp;
V.
&nbsp;
DR. ROGER W. BOSWELL, DR. JEFFREY NEILSON, AND 
HOPKINS COUNTY MEMORIAL HOSPITAL, Appellees


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

On Appeal from the 62nd Judicial District Court
Hopkins County, Texas
Trial Court No. CV35150


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



Before Morriss, C.J., Ross and Carter, JJ.
Memorandum Opinion by Chief Justice Morriss


MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pro se appellant, Linda Morris, alleged in her lawsuit against appellees, Dr. Roger Boswell,
Dr. Jeffrey Neilson, and Hopkins County Memorial Hospital, that her ankle injury was negligently
treated, ultimately resulting in the amputation of her leg.  Because Morris failed to file medical
expert reports as required by Article 4590i of the Medical Liability Insurance Improvement Act, the
trial court dismissed her lawsuit with prejudice on the motions of appellees.  See Tex. Rev. Civ.
Stat. Ann. art. 4590i, Act of May 5, 1995, 74th Leg., R.S., ch. 140, § 1, 1995 Tex. Gen. Laws 985,
repealed by Act of June 2, 2003, 78th Leg., R.S., ch. 204, § 10.09, 2003 Tex. Gen. Laws 884 and
recodified at Tex. Civ. Prac. &amp; Rem. Code Ann. § 74.351 (Vernon Supp. 2004–2005).  Because
no excuse or exception to the expert report requirement was raised by Morris, or appears to this
Court, we affirm the dismissal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When a claimant files a healthcare liability claim against a healthcare provider, he or she
must provide opposing counsel an "expert report" and curriculum vitae against each defendant within
180 days after filing suit.  Tex. Rev. Civ. Stat. Ann. art. 4590i, § 13.01(d)


; Am. Transitional Care
Ctrs. of Tex. v. Palacios, 46 S.W.3d 873, 877 (Tex. 2001).  Article 4590i defines an expert report
as
a written summary by an expert that provides a fair summary of the expert's opinion
as of the date of the report regarding applicable standards of care, the manner in
which the care rendered by the physician or health care provider failed to meet the
standards, and the causal relationship between the failure and the injury, harm or
damages received. 

&nbsp;Tex. Rev. Civ. Stat. Ann. art. 4590i, § 13.01(r)(6).




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The record contains no such expert report filed on behalf of Morris, nor does it reveal that
she sought at any time an extension of time in which to file a report.  Therefore, we need only
determine whether dismissal was proper under the statute.  We review a trial court's decision to
dismiss a plaintiff's cause of action for an abuse of discretion.  Palacios, 46 S.W.3d at 875; Chandler
v. Singh, 129 S.W.3d 184, 189 (Tex. App.—Texarkana 2004, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Section 13.01(e) mandates that a trial court must dismiss a healthcare liability claim if it finds
that the claimant failed to file an expert report and that there is no justification for an extension of
time in which to file one.  Tex. Rev. Civ. Stat. Ann. art. 4590i, § 13.01(e).


  We have held that "the
word 'shall' in a statute is usually construed to be mandatory, unless the legislative intent suggests
otherwise" and that, with respect to Article 4590i, the legislative intent does not suggest otherwise. 
In re Collom &amp; Carney Clinic Ass'n, 62 S.W.3d 924, 927 (Tex. App.—Texarkana 2001, no pet.). 
So, dismissal is mandatory if the claimant fails to comply with the expert report requirements.


  See
id. at 928; Hagedorn v. Tisdale, 73 S.W.3d 341, 352 (Tex. App.—Amarillo 2002, no pet.).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Morris filed suit May 19, 2003.  No expert report was filed, and no extension of time in
which to file an expert report was sought, by November 15, 2003, the 180th day after she filed her
petition.  In the following days, appellees filed their motions to dismiss pursuant to Section 13.01(d),
(e).  Since Morris failed to comply with Article 4590i's requirements, the trial court was required to
dismiss her claims and, therefore, did not abuse its discretion in dismissing pursuant to Article 4590i. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we affirm the trial court's dismissal with prejudice of Morris' lawsuit.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Josh R. Morriss, III
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;July 13, 2004
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;October 14, 2004





